Being unable to agree with the majority's resolution of appellant's first assignment of error, I respectfully dissent.
It is well-settled that a person's mental state must often be determined from the surrounding facts and circumstances and that persons are presumed to have intended the natural, reasonable and probable consequences of their voluntary acts.State v. Garner (1975), 74 Ohio St.3d 49, 60.  Here, appellant, despite knowing that he had AIDS and despite having the wherewithal to have protected sex with the victim, deliberately and voluntarily chose to have unprotected sex with the victim. Viewing the evidence in a light most favorable to the prosecution, a reasonable jury could have reasonably concluded that appellant used his HIV infection as a weapon and knowingly caused or attempted to cause physical harm to the victim by means of that infection.  I, therefore, would find that appellant's conviction for felonious assault is supported by sufficient evidence.